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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
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12   SOVEREIGN ASSET                              )   Case No.: 2:18-cv-09360 FMO (DFMx)
     MANAGEMENT, INC.,                            )   Hon. Fernando M. Olguin
13                                                )
                           Plaintiff,             )   ORDER RE: JOINT STIPULATION
14                                                )   [35] TO CONTINUE JANUARY 31,
                v.                                )   2019 SCHEDULING CONFERENCE
15                                                )
     HEALTH NET LIFE INSURANCE                    )
16   COMPANY,                                     )   Scheduling Conference
                                                  )   Current Date: January 31, 2019
17                         Defendant.             )   Proposed Date: February 14, 2019
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19                                                )
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21         Upon consideration of the parties’ stipulation, and good cause showing, IT IS
22   HEREBY ORDERED that:
23         1.        The Scheduling Conference in this case shall be continued from January
24   31, 2019 to February 14, 2019, at 10:00 a.m.
25         2.        The deadline for parties’ counsel to meet and confer in person shall be
26   continued from January 10, 2019 to January 24, 2019.
27         3.        The Joint Report deadline shall likewise be continued from January 17,
28   2019 to January 31, 2019.

       ORDER RE: JOINT STIPULATION TO CONTINUE JANUARY 31, 2019 SCHEDULING
                                   CONFERENCE
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 1         4.    The hearings on Health Net’s Motion to Dismiss and Health Net’s
 2   Special Motion to Strike Allegations in Plaintiff’s Complaint (Anti-Slapp Motion)
 3   (“Motion Hearings”) shall be continued from January 31, 2019 to February 14, 2019
 4   at 10:00 a.m.
 5         5.    The filing of Plaintiff’s oppositions to Health Net’s Motions shall be
 6   continued to January 24, 2019, or 21 days from the date set by the Court for the
 7   Motion Hearings.
 8         6.    The filing of Health Net’s reply briefs in support of its Motions shall be
 9   continued to January 31, 2019, or 14 days from the date set by the Court from the
10   Motion Hearings.
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12         IT IS SO ORDERED.
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14   DATED: January 9, 2019                       _________/s_____________________
15                                                Fernando M. Olguin
                                                  UNITED STATES DISTRICT JUDGE
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       ORDER RE: JOINT STIPULATION TO CONTINUE JANUARY 31, 2019 SCHEDULING
                                   CONFERENCE
